                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                        Plaintiff,                  Case No.    18-00102-01-CR-W-GAF

        v.

 JAMES R. GREEN, JR.,

                        Defendant.

                                      PLEA AGREEMENT

       Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties

described below have entered into the following plea agreement:

       1.    The Parties.    The parties to this agreement are the United States Attorney=s Office

(AUSAO@) for the Western District of Missouri (otherwise referred to as Athe Government@ or Athe

United States@), represented by Timothy A. Garrison, United States Attorney, and David Luna,

Assistant United States Attorney, and the defendant, James R. Green, Jr. (Athe defendant@), represented

by Anita Burns, Assistant Federal Public Defender.

       The defendant understands and agrees that this plea agreement is only between him and the

United States Attorney for the Western District of Missouri, and that it does not bind any other federal,

state, or local prosecution authority or any other government agency, unless otherwise specified in this

agreement.

       2.    Defendant=s Guilty Plea.    The defendant agrees to and hereby does plead guilty to Count

Two of the indictment charging him with a violation of 18 U.S.C. § 2251(a) and (e) (Production of

Child Pornography), and Count Nine of the Indictment charging him in violation of

18 U.S.C. § 2252(a)(4) (Possession of Child Pornography).      By entering into this plea agreement, the




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defendant admits that he knowingly committed the offenses charged, and is in fact guilty of the

offenses.

       3.   Factual Basis for Guilty Plea.    The parties agree that the facts constituting the offenses

to which the defendant is pleading guilty include the following:

       In April 2017, Kansas City FBI Child Exploitation Task Force Officer (TFO) David Albers

and Blue Springs Police Department (BSPD) Detective Martin Kreissler, were conducting separate

investigations into allegations that the defendant had engaged in sexual exploitation of minor boys

with whom Green was acquainted. Based on information obtained during these investigations, TFO

Albers obtained a Jackson County Circuit Court search warrant for the defendant’s residence in Blue

Springs, which is located in the Western District of Missouri. On April 14, 2017, at around 3:45 p.m.,

investigators executed the search warrant, which authorized the seizure of computers, cell phones,

electronic media and storage devices, and evidence of child pornography.           During the search,

investigators located and seized computers, cameras, cell phones, a digital video camcorder, and

numerous media storage devices including flash drives, video tapes, CD/DVDs, and 8-millimeter

tapes. Green’s roommate was present at the residence when officers arrived to search the home. The

defendant was not home. However, officers located Green the same day in Kansas City, Missouri

and placed him in custody.

       On April 14, 2017, at approximately 6:45 pm., TFO Albers and Detective Kreissler conducted

a Mirandized custodial interview of the defendant at BSPD headquarters. During the interview,

which was video/audio recorded, Green initially denied engaging in any criminal activity. The

defendant eventually admitted, however, that investigators would find child pornography on devices

seized pursuant to the search warrant. Specifically, Green admitted that he had utilized a hidden video


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camera to produce videos of minor boys, who were under his supervisory control, as they were

undressing and/or preparing to shower. The defendant admitted that he produced these surreptitious

videos on multiple occasions between the late 1990s or early 2000s through approximately 2015.

Green stated that he recorded the videos using an 8-millimeter video camera. Green acknowledged

he later transferred the videos from tape to disc, and that these items would be located in his residence.

       A forensic examiner with the Heart of America Regional Computer Forensic Laboratory

performed an analysis of the various devices and storage media seized from the defendant during the

search of his residence. Analysis located still images and videos containing child pornography on

several of the defendant’s items. Specifically, analysis discovered on a DVD an approximately

43- minute long video recording depicting child pornography. The video appears to have been

captured by a hidden camera in the basement of Green’s residence in Blue Springs. Green is visible

throughout the duration of the video. In the video Green provided a Speedo brief style swimsuit to a

young boy to wear. The boy is under 18 years old and appears between 14 and 15 years old based on

body build and height. Green then began to rub the boy’s buttocks and genitals with his hands over

the boy’s swimsuit. Green and the boy then removed their clothing, masturbated each other, and

performed oral sex on each other through the course of the video. During the video Green looks

directly at the hidden camera. However, the boy is unaware of the presence of the video camera or

that he is being video recorded. Green’s television is on and audible in the background during the

video recording.    Based on the television programming during the sexual contact, TFO Albers

determined that the video was produced on December 28, 2013. (These facts form the basis for Count

2 – Production of Child Pornography.)




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       The forensic exam of the defendant’s devices also located numerous still images of nude

pubescent boys ranging in age from approximately 12 to 17 years exposing their erect penises and

anuses in sexually explicit poses or masturbating. Many of the still images appear to be “selfie” style

photos taken by the subjects of the photos. Some of these images appear to have been sent to the

defendant by boys with whom Green was acquainted. One photo, located on defendant’s Maxtor

Fireball hard drive, depicts an approximately 14-year-old boy standing in front of a mirror holding a

cell phone camera. The boy is exposing his erect penis as he photographs himself with the cell phone.

A paper with a handwritten message that appears to be directed to the defendant is taped to the mirror

next to the boy. (These facts form the basis for Count 9 – Possession of Child Pornography.) Each

of the devices on which child pornography was produced and found was determined to be

manufactured outside the state of Missouri.

       4.   Use of Factual Admissions and Relevant Conduct.            The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea

agreement will be used for the purpose of determining his guilt and advisory sentencing range under

the United States Sentencing Guidelines (AU.S.S.G.@), including the calculation of the defendant=s

offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The defendant acknowledges, understands

and agrees that all other uncharged related criminal activity may be considered as Arelevant conduct@

pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charges to which he is

pleading guilty.

       5.   Statutory Penalties.    The defendant understands that the maximum penalty the Court

may impose for Production of Child Pornography is not less than 15 years imprisonment and not more

than 30 years imprisonment, a $250,000 fine, from 5 years to life of supervised release, an order of


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restitution, and a $100 mandatory special assessment, which must be paid in full at the time of

sentencing.    The defendant understands that Production of Child Pornography is a Class B felony.

       The defendant understands that the maximum penalty the Court may impose for Possession of

Child Pornography is not more than 10 years imprisonment, a $250,000 fine, from 5 years to life of

supervised release, an order of restitution, and a $100 mandatory special assessment, which must be

paid in full at the time of sentencing.        The defendant understands that Possession of Child

Pornography is a Class C felony.    The defendant understands that the Court may order the sentences

for Count 2 (Production of Child Pornography) and Count 9 (Possession of Child Pornography) to run

consecutive to each other.

       6.     Sentencing Procedures.     The defendant acknowledges, understands and agrees to the

following:

              a. in determining the appropriate sentence, the Court will consult and consider
       the United States Sentencing Guidelines promulgated by the United States Sentencing
       Commission; these Guidelines, however, are advisory in nature, and the Court may
       impose a sentence either less than or greater than the defendant=s applicable Guidelines
       range;

              b. the Court will determine the defendant=s applicable Sentencing Guidelines
       range at the time of sentencing;

               c. in addition to a sentence of imprisonment, or if a sentence of probation is
       revoked, the Court may impose a term of supervised release of at least five years up to
       life; that the Court must impose a period of supervised release if a sentence of
       imprisonment of more than one year is imposed, and in defendant=s case, the Court
       must impose a period of supervised release of at least 5 years;

               d. if the defendant violates a condition of his supervised release, the Court
       may revoke his supervised release and impose an additional period of imprisonment of
       up to 2 years without credit for time previously spent on supervised release. However,
       pursuant to 18 U.S.C. § 3583(k), if the Court revokes the supervised release because
       the defendant committed a criminal offense under chapter 109A (sexual abuse offenses
       occurring on special maritime or territorial jurisdiction of the United States, in violation
       of 18 U.S.C. §§ 2241-2248), 110 (sexual exploitation and other abuse of children,

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including child pornography offenses, in violation of 18 U.S.C. §§ 2251-2260A) or 117
(transportation for illegal sexual activity and related crimes, in violation of 18 U.S.C.
§§ 2421-2428) or Section 1201 (kidnapping) or 1591 (sex trafficking of children or by
force, fraud, or coercion) of Title 18 of the United States Code, the Court will impose
an additional period of imprisonment of 5 years without credit for time previously spent
on supervised release. In addition to a new term of imprisonment, the Court also may
impose a new period of supervised release, the length of which cannot exceed life, less
the term of imprisonment imposed upon revocation of the defendant’s first supervised
release;

         e. the Court may impose any sentence authorized by law, including a sentence
that is outside of, or departs from, the applicable Sentencing Guidelines range;

          f.   any sentence of imprisonment imposed by the Court will not allow for
parole;

       g. the Court is not bound by any recommendation regarding the sentence to
be imposed or by any calculation or estimation of the Sentencing Guidelines range
offered by the parties or the United States Probation Office;

        h. the defendant may not withdraw his guilty plea solely because of the nature
or length of the sentence imposed by the Court;

       i. the defendant states that he is the sole and rightful owner of the following
devices that were seized during the execution of the search of his residence:

   •      Lexar Micron 8 Gigabyte removable media labeled HARCFL100577
   •      Imation CD-R labeled HARCFL100586
   •      Memorex CD-R labeled HARCFL100587
   •      Memorex CD-R labeled HARCFL100588
   •      Memorex CD-R labeled HARCFL100590
   •      Imation CD-R labeled HARCFL100591
   •      Maxtor Fireball 3 hard drive, serial number F150R27EZ9999 labeled
          HARCFL100595
   •      Maxell GX 120 videotape labeled HARCFL100597
   •      Maxell DVD labeled HARCFL100602
   •      Maxell DVD labeled HARCFL100603
   •      Maxell DVD labeled HARCFL100604
   •      Maxell DVD labeled HARCFL100605
   •      Maxell DVD labeled HARCFL100606
   •      Maxell DVD labeled HARCFL100607
   •      Memorex CD-R labeled HARCFL100608
   •      Maxell DVD labeled HARCFL100609

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            •   Floppy disc labeled HARCFL100611
            •   LG VS880 cell phone labeled HARCFL100613
            •   Apple iPad A1458 labeled HARCFL100615
            •   Samsung Galaxy S-7SM-G930V cell phone labeled HARCFL100617
            •   Canon Vixia HF R500 video camera labeled HARCFL100619
            •   SanDisk disc card labeled HARCFL100620
            •   HP Pavilion A6000 desktop computer, serial number 200724ASZ29750 labeled
                HARCFL100622
            •   Hitachi 320 GB Hard Drive labeled HARCFL100623

               j. the defendant states that the property referenced in paragraph 6.i. was used
       in the commission of the offenses charged in this case. The defendant states that to
       the best of his knowledge no one else has any ownership or other interest in the
       property. The defendant hereby abandons any interest he has in such property and
       consents to the destruction or any other disposition of the property by the state or local
       agency that seized the property without further notice or obligation whatsoever owing
       to the defendant.


       7.   Government=s Agreements.         Based upon evidence in its possession at this time, the

United States Attorney=s Office for the Western District of Missouri, as part of this plea agreement,

agrees not to bring any additional charges against defendant for any federal criminal offenses related

to the production, receipt, possession, or distribution of child pornography, or attempts to commit the

stated offenses, for which it has venue and which arose out of the defendant=s conduct in the course of

the investigation of this case.   The United States further agrees to dismiss Counts One, Three, Four,

Five, Six, Seven and Eight of the indictment after defendant has been sentenced.

       The defendant understands that this plea agreement does not foreclose any prosecution for an

act of murder or attempted murder, an act or attempted act of physical or sexual violence against the

person of another, or a conspiracy to commit any such acts of violence or any criminal activity of

which the United States Attorney for the Western District of Missouri has no knowledge.

       The defendant recognizes that the United States= agreement to forego prosecution of all of the

criminal offenses with which the defendant might be charged is based solely on the promises made by
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the defendant in this agreement.      If the defendant breaches this plea agreement, the United States

retains the right to proceed with the original charges and any other criminal violations established by

the evidence.    The defendant expressly waives his right to challenge the initiation of the dismissed

or additional charges against him if he breaches this agreement.      The defendant expressly waives his

right to assert a statute of limitations defense if the dismissed or additional charges are initiated against

him following a breach of this agreement.       The defendant further understands and agrees that if the

Government elects to file additional charges against him following his breach of this plea agreement,

he will not be allowed to withdraw his guilty plea.

        8.   Preparation of Presentence Report.          The defendant understands the United States will

provide to the Court and the United States Probation Office a government version of the offense

conduct. This may include information concerning the background, character, and conduct of the

defendant, including the entirety of his criminal activities.          The defendant understands these

disclosures are not limited to the counts to which he has pleaded guilty.          The United States may

respond to comments made or positions taken by the defendant or the defendant=s counsel and to

correct any misstatements or inaccuracies.      The United States further reserves its right to make any

recommendations it deems appropriate regarding the disposition of this case, subject only to any

limitations set forth in this plea agreement.    The United States and the defendant expressly reserve

the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal Rules

of Criminal Procedure.

        9.    Withdrawal of Plea.        Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant=s plea of guilty and its

formal acceptance by the Court.      In the event of such withdrawal, the parties will be restored to their


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pre-plea agreement positions to the fullest extent possible.   However, after the plea has been formally

accepted by the Court, the defendant may withdraw his plea of guilty only if the Court rejects the plea

agreement or if the defendant can show a fair and just reason for requesting the withdrawal.        The

defendant understands that if the Court accepts his plea of guilty and this plea agreement but

subsequently imposes a sentence that the defendant does not expect, like or agree with, he will not be

permitted to withdraw his plea of guilty.

       10.    Agreed Guidelines Applications.       With respect to the application of the Sentencing

Guidelines to this case, the parties stipulate and agree as follows:

              a. The Sentencing Guidelines do not bind the Court and are advisory in nature.
       The Court may impose a sentence that is either above or below the defendant=s
       applicable Guidelines range;

              b.    The applicable Guidelines Manual is the one that took effect on November
       1, 2018;

              c. The applicable Guidelines section for the offense of conviction is U.S.S.G.
       § 2G2.1, which provides for a base offense level of 32;

              d. Because the offense involved a minor who had attained the age of twelve
       years but had not attained the age of 16 years, the offense level is increased 2 levels
       pursuant to § 2G2.1(b)(1);

              e. Because the offense involved the commission of a sexual act or sexual
       contact, the offense level is increased 2 levels pursuant to § 2G2.1(b)(2)(A);

               f. Because a minor victim was in the custody, care, or supervisory control of
       the defendant, the offense level is increased 2 levels pursuant to § 2G2.1(b)(5);

              g. Because the offense involved the exploitation of more than one minor,
       U.S.S.G. Chapter Three, Part D shall be applied as if the exploitation of each minor
       had been contained in a separate count of conviction pursuant to § 2G2.1(d).

               h. The defendant has admitted his guilt and clearly accepted responsibility for
       his actions, and has assisted authorities in the investigation or prosecution of his own
       misconduct by timely notifying authorities of his intention to enter a plea of guilty,
       thereby permitting the Government to avoid preparing for trial and permitting the

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       Government and the Court to allocate their resources efficiently. Therefore, he is
       entitled to a three-level reduction pursuant to § 3E1.1(b) of the Sentencing Guidelines.
       The Government, at the time of sentencing, will file a written motion with the Court to
       that effect, unless the defendant (1) fails to abide by all of the terms and conditions of
       this plea agreement and his pretrial release; or (2) attempts to withdraw his guilty plea,
       violates the law, or otherwise engages in conduct inconsistent with his acceptance of
       responsibility;

              i. The parties agree that the Court will determine the defendant=s applicable
       criminal history category after receipt of the presentence investigation report prepared
       by the United States Probation Office;

               j. The defendant understands that the estimate of the parties with respect to
       the Guidelines computation set forth in the subsections of this paragraph does not bind
       the Court or the United States Probation Office with respect to the appropriate
       Guidelines levels. Additionally, the failure of the Court to accept these stipulations
       will not, as outlined in Paragraph 9 of this plea agreement, provide the defendant with
       a basis to withdraw his plea of guilty;

                k. The defendant consents to judicial fact-finding by a preponderance of the
       evidence for all issues pertaining to the determination of the defendant=s sentence,
       including the determination of any mandatory minimum sentence (including the facts
       that support any specific offense characteristic or other enhancement or adjustment).
       The defendant waives any right to a jury determination beyond a reasonable doubt of
       all facts used to determine and enhance the sentence imposed, and waives any right to
       have those facts alleged in the information. The defendant also agrees that the Court,
       in finding the facts relevant to the imposition of sentence, may consider any reliable
       information, including hearsay;

              l. The defendant understands and agrees that the factual admissions contained
       in Paragraph 3 of this plea agreement, and any admissions that he will make during his
       plea colloquy, support the imposition of the agreed-upon Guidelines calculations
       contained in this agreement; and

              m. The parties agree that at sentencing the defendant may argue for a sentence
       below the applicable Guideline range.

       11.    Effect of Non-Agreement on Guidelines Applications.              The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any Sentencing

Guidelines issues other than those specifically listed in Paragraph 10, and its subsections.   As to any



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other Guidelines issues, the parties are free to advocate their respective positions at the sentencing

hearing.

       12.       Change in Guidelines Prior to Sentencing.              The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any

request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement

voidable by the United States at its option.      If the Government exercises its option to void the plea

agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal charges

that could have been brought but for this plea agreement.

       13.       Government=s Reservation of Rights.               The defendant understands that the

United States expressly reserves the right in this case to:

              a. oppose or take issue with any position advanced by defendant at the
       sentencing hearing which might be inconsistent with the provisions of this plea
       agreement;

                 b.   comment on the evidence supporting the charges in the indictment;

               c. oppose any arguments and requests for relief the defendant might advance
       on an appeal from the sentences imposed and that the United States remains free on
       appeal or collateral proceedings to defend the legality and propriety of the sentence
       actually imposed, even if the Court chooses not to follow any recommendation made
       by the United States; and

                 d.   oppose any post-conviction motions for reduction of sentence, or other
       relief.

       14.   Waiver of Constitutional Rights.           The defendant, by pleading guilty, acknowledges

that he has been advised of, understands, and knowingly and voluntarily waives the following rights:

                 a.   the right to plead not guilty and to persist in a plea of not guilty;

             b. the right to be presumed innocent until his guilt has been established
       beyond a reasonable doubt at trial;


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               c. the right to a jury trial, and at that trial, the right to the effective assistance
        of counsel;

                d. the right to confront and cross-examine the witnesses who testify against
        him;

                e.    the right to compel or subpoena witnesses to appear on his behalf; and

                f. the right to remain silent at trial, in which case his silence may not be used
        against him.

        The defendant understands that by pleading guilty, he waives or gives up those rights and that

there will be no trial.   The defendant further understands that if he pleads guilty, the Court may ask

him questions about the offense or offenses to which he pleaded guilty, and if the defendant answers

those questions under oath and in the presence of counsel, his answers may later be used against him

in a prosecution for perjury or making a false statement.        The defendant also understands he has

pleaded guilty to a felony offense and, as a result, will lose his right to possess a firearm or ammunition

and might be deprived of other rights, such as the right to vote or register to vote, hold public office,

or serve on a jury.

        15.    Waiver of Appellate and Post-Conviction Rights.

                a. The defendant acknowledges, understands and agrees that by pleading
        guilty pursuant to this plea agreement he waives his right to appeal or collaterally attack
        a finding of guilt following the acceptance of this plea agreement, except on grounds
        of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

                b. The defendant expressly waives his right to appeal his sentence, directly or
        collaterally, on any ground except claims of (1) ineffective assistance of counsel; (2)
        prosecutorial misconduct; or (3) an illegal sentence. An Aillegal sentence@ includes a
        sentence imposed in excess of the statutory maximum, but does not include less serious
        sentencing errors, such as a misapplication of the Sentencing Guidelines, an abuse of
        discretion, or the imposition of an unreasonable sentence. However, if the United
        States exercises its right to appeal the sentence imposed as authorized by 18 U.S.C. §
        3742(b), the defendant is released from this waiver and may, as part of the
        Government=s appeal, cross-appeal his sentence as authorized by 18 U.S.C. § 742(a)


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       with respect to any issues that have not been stipulated to or agreed upon in this
       agreement.

       16.   Financial Obligations. By entering into this plea agreement, the defendant represents

that he understands and agrees to the following financial obligations:

              a. The Court must order restitution to the victims of the offense to which the
       defendant is pleading guilty. The defendant agrees that the Court may order restitution
       in connection with the conduct charged in any counts of the indictment which are to be
       dismissed and all other uncharged related criminal activity.

               b. The United States may use the Federal Debt Collection Procedures Act and
       any other remedies provided by law to enforce any restitution order that may be entered
       as part of the sentence in this case and to collect any fine.

                c. The defendant will fully and truthfully disclose all assets and property in
       which he has any interest, or over which the defendant exercises control directly or
       indirectly, including assets and property held by a spouse, nominee or other third party.
       The defendant=s disclosure obligations are ongoing, and are in force from the execution
       of this agreement until the defendant has satisfied the restitution order in full.

               d. The defendant hereby authorizes the USAO to obtain a credit report
       pertaining to him to assist the USAO in evaluating the defendant=s ability to satisfy any
       financial obligations imposed as part of the sentence.

               e. The defendant understands that a Special Assessment will be imposed as
       part of the sentence in this case. The defendant promises to pay the Special
       Assessment of $100 for each count by submitting a satisfactory form of payment to the
       Clerk of the Court prior to appearing for the sentencing proceeding in this case. The
       defendant agrees to provide the Clerk=s receipt as evidence of his fulfillment of this
       obligation at the time of sentencing.

               f. The defendant certifies that he has made no transfer of assets or property for
       the purpose of (1) evading financial obligations created by this Agreement;           (2)
       evading obligations that may be imposed by the Court; nor (3) hindering efforts of the
       USAO to enforce such financial obligations. Moreover, the defendant promises that
       he will make no such transfers in the future.

               g. In the event the United States learns of any misrepresentation in the
       financial disclosure statement, or of any asset in which the defendant had an interest at
       the time of this plea agreement that is not disclosed in the financial disclosure
       statement, and in the event such misrepresentation or nondisclosure changes the
       estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more, the

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       United States may at its option: (1) choose to be relieved of its obligations under this
       plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
       restitution, and fines imposed by any criminal or civil judgment, and also collect 100%
       (one hundred percent) of the value of any previously undisclosed assets. The
       defendant agrees not to contest any collection of such assets. In the event the United
       States opts to be relieved of its obligations under this plea agreement, the defendant=s
       previously entered pleas of guilty shall remain in effect and cannot be withdrawn.

       17. Sex Offender Registration. Defendant understands that by pleading guilty, defendant

will be required to register as a sex offender upon his release from prison, if he is so sentenced, as a

condition of supervised release pursuant to 18 U.S.C. § 3583(d).       Defendant also understands that,

independent of supervised release, he will be subject to federal and state sex offender registration

requirements, and that those requirements may apply throughout his life.      The defendant understands

that he shall keep his registration current, shall notify the state sex offender registration agency or

agencies of any changes to defendant’s name, place of residence, employment, or student status, or

other relevant information, including international travel.   Defendant shall comply with requirements

to periodically verify in person his sex offender registration information.   Defendant understands that

he will be subject to possible federal and state penalties for failure to comply with any such sex

offender registration requirements in whatever state he resides following release from prison, and he

will be subject to the registration requirements of that state.     Defendant further understands that,

under 18 U.S.C. § 4042(c), notice will be provided to certain law enforcement agencies upon his

release from confinement following conviction.

       As a condition of supervised release, defendant shall initially register with the state sex

offender registration agency in the state in which he is released, and shall also register with the state

sex offender registration agency in any state where defendant resides, is employed, works, or is a

student, as directed by the Probation Officer.    The defendant shall comply with all requirements of


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federal and state sex offender registration laws, including the requirement to update his registration

information.    Defendant shall provide proof of registration to the Probation Officer within 72 hours

of release from imprisonment.

        18.    Defendant Will Remain in Custody after the Plea.          The defendant understands that

the crime to which he is pleading is a crime of violence, as defined by 18 U.S.C. § 3156(a)(4)(C).

Accordingly, pursuant to 18 U.S.C. § 3143(a)(2), the Court must continue to detain the defendant after

it accepts his plea of guilty to the offense.   The defendant hereby agrees not to contest his detention,

and to remain in the custody of the U.S. Marshals immediately after the district court has accepted his

plea.

        19.    Waiver of FOIA Request.          The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the

United States any records pertaining to the investigation or prosecution of this case including, without

limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or

the Privacy Act of 1974, 5 U.S.C. § 552a.

        20.    Waiver of Claim for Attorney=s Fees.        The defendant waives all of his claims under

the Hyde Amendment, 18 U.S.C. § 3006A, for attorney=s fees and other litigation expenses arising out

of the investigation or prosecution of this matter.

        21.    Defendant=s Breach of Plea Agreement.            If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing of

this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the defendant

provides information to the Probation Office or the Court that is intentionally misleading, incomplete,

or untruthful, or otherwise breaches this plea agreement, the United States will be released from its


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obligations under this agreement.     The defendant, however, will remain bound by the terms of the

agreement, and will not be allowed to withdraw his plea of guilty.

        The defendant also understands and agrees that in the event he violates this plea agreement, all

statements made by him to law enforcement agents subsequent to the execution of this plea agreement,

any testimony given by him before a grand jury or any tribunal or any leads from such statements or

testimony shall be admissible against him in any and all criminal proceedings.    The defendant waives

any rights that he might assert under the United States Constitution, any statute, Rule 11(f) of the

Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal

rule that pertains to the admissibility of any statements made by him subsequent to this plea agreement.

        22.     Defendant=s Representations.       The defendant acknowledges that he has entered into

this plea agreement freely and voluntarily after receiving the effective assistance, advice and approval

of counsel.     The defendant acknowledges that he is satisfied with the assistance of counsel, and that

counsel has fully advised him of his rights and obligations in connection with this plea agreement.

The defendant further acknowledges that no threats or promises, other than the promises contained in

this plea agreement, have been made by the United States, the Court, his attorneys or any other party

to induce him to enter his plea of guilty.

        23.     No Undisclosed Terms.        The United States and defendant acknowledge and agree that

the above-stated terms and conditions, together with any written supplemental agreement that might

be presented to the Court in camera, constitute the entire plea agreement between the parties, and that

any other terms and conditions not expressly set forth in this agreement or any written supplemental

agreement do not constitute any part of the parties= agreement and will not be enforceable against

either party.


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       24.    Standard of Interpretation.         The parties agree that, unless the constitutional

implications inherent in plea agreements require otherwise, this plea agreement should be interpreted

according to general contract principles and the words employed are to be given their normal and

ordinary meanings.    The parties further agree that, in interpreting this agreement, any drafting errors

or ambiguities are not to be automatically construed against either party, whether or not that party was

involved in drafting or modifying this agreement.

                                                       Timothy A. Garrison
                                                       United States Attorney


Dated: November 20, 2018                               David Luna
                                                       David Luna
                                                       Assistant United States Attorney


       I have consulted with my attorney and fully understand all of my rights with respect to the
offense charged in the indictment. Further, I have consulted with my attorney and fully understand
my rights with respect to the provisions of the Sentencing Guidelines. I have read this plea agreement
and carefully reviewed every part of it with my attorney. I understand this plea agreement and I
voluntarily agree to it.


Dated: November 20, 2018                               James R. Green, Jr.
                                                       James R. Green, Jr.
                                                       Defendant


        I am defendant James R. Green, Jr.’s attorney. I have fully explained to Mr. Green his rights
with respect to the offense charged in the indictment. Further, I have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. I have carefully reviewed
every part of this plea agreement with him. To my knowledge, Mr. Green’s decision to enter into
this plea agreement is an informed and voluntary one.


Dated: November 20, 2018                               Anita Burns
                                                       Anita Burns
                                                       Attorney for Defendant


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